Case 17-60935-can11   Doc 195-11 Filed 11/16/17 Entered 11/16/17 11:20:50   Desc
                              Exhibit K Page 1 of 4
Case 17-60935-can11   Doc 195-11 Filed 11/16/17 Entered 11/16/17 11:20:50   Desc
                              Exhibit K Page 2 of 4
Case 17-60935-can11   Doc 195-11 Filed 11/16/17 Entered 11/16/17 11:20:50   Desc
                              Exhibit K Page 3 of 4
Case 17-60935-can11   Doc 195-11 Filed 11/16/17 Entered 11/16/17 11:20:50   Desc
                              Exhibit K Page 4 of 4
